                                                                                                                      Entered on Docket
                                                                                                                      October 31, 2018
                                                                                                                      EDWARD J. EMMONS, CLERK
                                                                                                                      U.S. BANKRUPTCY COURT
                                                                                                                      NORTHERN DISTRICT OF CALIFORNIA

                                                                     1   Richard M. Pachulski (CA Bar No. 90073)
                                                                         John D. Fiero (CA Bar No. 136557)
                                                                     2   John W. Lucas (CA Bar No. 271038)      Signed and Filed: October 31, 2018
                                                                         Pachulski Stang Ziehl & Jones LLP
                                                                     3   150 California Street, 15th Floor
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                                                                         Facsimile: 415.263.7010
                                                                     5   Email: rpachuslki@pszjlaw.com         __________________________________________
                                                                                jfiero@pszjlaw.com             HANNAH L. BLUMENSTIEL
                                                                     6          jlucas@pszjlaw.com             U.S. Bankruptcy Judge

                                                                     7   Attorneys for Sedgwick, LLP

                                                                     8                                 UNITED STATES BANKRUPTCY COURT

                                                                     9                                 NORTHERN DISTRICT OF CALIFORNIA

                                                                    10                                      SAN FRANCISCO DIVISION

                                                                    11   In re:                                            Case No.: 18-31087 (HLB)
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12            SEDGWICK, LLP,                           Chapter 11
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                                   Debtor.           ORDER SHORTENING TIME FOR
                                            ATTORNEYS AT LAW




                                                                                                                           HEARING ON EMERGENCY EX PARTE
                                                                    14                                                     APPLICATION FOR ORDER
                                                                                                                           SHORTENING TIME AND SETTING
                                                                    15                                                     HEARING ON MOTION FOR APPROVAL
                                                                                                                           OF SETTLEMENT PROCEDURES FOR
                                                                    16                                                     COMPROMISING ACCOUNTS
                                                                                                                           RECEIVABLE
                                                                    17
                                                                                                                           Date:      November 8, 2018
                                                                    18                                                     Time:      10:00 a.m.
                                                                                                                           Place:     450 Golden Gate Avenue
                                                                    19                                                                Courtroom 19
                                                                                                                                      San Francisco, CA 94102
                                                                    20                                                     Judge:     Honorable Hannah L. Blumenstiel
                                                                    21
                                                                                  Upon the Emergency Ex Parte Application for Order Shortening Time and Setting Hearing
                                                                    22
                                                                         on Motion for Approval of Settlement Procedures for Compromising Accounts Receivable [Docket
                                                                    23
                                                                         No. 78](the “Application”) of Sedgwick, LLP., the debtor and debtor-in-possession herein (the
                                                                    24
                                                                         “Debtor”), for an order shortening time for a hearing on the Motion for Approval of Settlement
                                                                    25
                                                                         Procedures for Compromising Accounts Receivable [Docket No. 76] (the “Motion”); and upon the
                                                                    26
                                                                         Declaration of John W. Lucas filed in support of the Application:
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                                                                         DOCS_SF:98104.1 77998/002
                                                                     Case: 18-31087          Doc# 84    Filed: 10/31/18   Entered: 10/31/18 16:55:31     Page 1 of 2
                                                                     1            IT IS HEREBY ORDERED THAT:

                                                                     2            1.       The hearing on the Motion [Docket No. 41] shall be held on November 8, 2018 at

                                                                     3   10:00 a.m. (Pacific).

                                                                     4            2.       Any opposition to the Motion must be filed with the Court and served on the above-

                                                                     5   captioned counsel for the Debtor prior to the hearing, or presented orally at the Hearing.

                                                                     6            3.       The Court authorizes that any response by the Debtor to any opposition to the Motion

                                                                     7   may be raised at the hearing.

                                                                     8            4.       The Debtor shall serve this Order on the UST, counsel to the Committee, and those

                                                                     9   parties who have requested to receive notice pursuant to Rule 2002 of the Federal Rules of

                                                                    10   Bankruptcy Procedure, by e-mail or facsimile to the extent known or overnight delivery by close of

                                                                    11   business on Thursday, November 1, 2018. Debtor shall file a certificate of service by close of
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   business on Friday, November 2, 2018.
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                                          *** END OF ORDER ***
                                            ATTORNEYS AT LAW




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